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  IN THE UNITED STATES DISTRICT COURT FOR THE
         NORTHERN DISTRICT OF GEORGIA
                    ATLANTA DIVISION


JIN KWON and ASIAN AMERICANS                   )
ADVANCING JUSTICE-ATLANTA,                     )
                                               )
       Plaintiffs,                             )
                                               )     CIVIL ACTION
v.                                             )     No. 1:18cv5405-TCB
                                               )
ROBYN A. CRITTENDEN, in her official           )
capacity as Secretary of State,                )
                                               )
       Defendant.                              )


                                  CONSENT ORDER


      Plaintiffs filed this action against the Georgia Secretary of State pursuant to

the Voting Rights Act and the First and Fourteenth Amendments, seeking to

enjoin enforcement of O.C.G.A. § 21-2-409(b)(2), which limits those persons that

may assist a voter when no candidate for federal office appears on the ballot to

registered voters in the voter’s precinct, statutorily specified family members, and

the voter’s caretaker. Section 21-2-409(b)(2) also limits the number of voters any

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one person can assist to ten (10) in any election with no federal candidate on the

ballot.

          Sec. 208 of the Voting Rights Act, 52 U.S.C. § 10508 provides that voters

requiring assistance “may be given assistance by a person of the voter’s choice,

other than the voter’s employer or agent of that employer or officer or agent of the

voter’s union.” Sec 208 of the VRA does not limit the number of voters any one

person may assist in an election.

          This Court has jurisdiction of this action pursuant to 52 U.S.C. § 20510(b)

and 28 U.S.C. §§ 1331 and 1343(a)(4).

          In order to avoid the burden, delays, and uncertainties of litigation and to

efficiently and expeditiously promote the parties’ shared goal of ensuring that

Georgia’s voters are afforded the rights guaranteed by the requirements of the

Voting Rights Act, the parties consent to the terms of this Order.

          WHEREFORE, the parties having freely given their consent, and the terms

of the Consent Decree being fair, reasonable, and consistent with the requirements

of the VRA, it is hereby ORDERED, ADJUDGED and DECREED that:

          1) Defendant, Secretary of State, and the Secretary of State’s officers,

assigns, successors, agents, servants, employees, attorneys, and other persons who


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are in active concert or participation with them, are hereby enjoined from enforcing

or relying on O.C.G.A. § 21-2-409(b)(2).

      2) Consistent with Sec. 208 of the Voting Rights Act, voter assistance in all

future elections will be governed by O.C.G.A. § 21-2-409(a) and § 21-2-409(b)(1),

regardless of whether a candidate for federal office appears on the ballot.

      3) The Secretary shall issue a bulletin immediately, and by no later 5:00 PM

on Thursday, November 29, 2018, to all county election superintendents and direct

them to permit voters requiring assistance to receive assistance from anyone of the

voter’s choosing, subject to the requirements of both Sec. 208 of the VRA and

O.C.G.A. § 21-2-409(b)(1).       This bulletin shall also inform county election

superintendents that they may not require individuals assisting voters to check off

any boxes on any forms, including those on absentee ballots and absentee ballot

envelopes, indicating their relationship to the voters or how many voters they have

assisted. However, nothing herein prevents county election officials from requiring

persons assisting voters to identify themselves, as required by O.C.G.A. § 21-2-

409(a). The Secretary shall also provide all county election superintendents a copy

of this Order.




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      4) The Secretary agrees, for the December 2018 run-off, to provide notice to

the public by issuing a press release by 5:00 PM on Thursday, November 29, 2018,

reporting that all voters entitled to assistance with voting may receive assistance

from any person of their choice who satisfies the requirements of Section 208 of

the Voting Rights Act, 52 U.S.C. § 10508 and O.C.G.A. § 21-2-409(b)(1),

regardless of whether or not there is a federal candidate on the ballot.

      5) The Secretary agrees to provide notice to the public on the Secretary of

State’s website that all voters entitled to assistance with voting may receive

assistance from any person of their choice who satisfies the requirements of

Section 208 of the Voting Rights Act, 52 U.S.C. § 10508 and O.C.G.A.

§ 21-2-409(b)(1), regardless of whether or not there is a federal candidate on the

ballot. Said Notice will remain on the Secretary of State’s website so long as the

current version of O.C.G.A. § 21-2-409(b)(2) remains in the Georgia Code.

      6)    The Secretary further agrees, no later than 5:00 p.m. on Friday,

November 30th, to provide each Election Superintendent with a notice and agrees

to instruct the county election superintendents to post said notice at all polling

places on election-day in a location that is viewable at the major entrance of each

polling place. The notice will state that voters entitled to assistance may receive



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assistance from any person of their choice who satisfies the requirements of Sec.

208 of the Voting Rights Act.

      8) All future training conducted by the Secretary of State’s Office shall be

consistent with this Order.

      9) Upon entry of this Consent Order by the Court, Plaintiffs shall be entitled

to file a motion for reasonable attorneys’ fees and costs from Defendant. The

amount of such attorneys’ fees and costs shall be determined pursuant to the

procedures set forth in Northern District of Georgia Civil Local Rule 54.2

(hereinafter, L.R. 54.2) and other applicable legal authorities.

      IT IS SO ORDERED THIS             Day of        , 2018.




                                              ________________________
                                              Hon. Timothy C. Batten, Sr.
                                              District Court Judge




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Consented to:

FOR DEFENDANTS

CHRISTOPHER M. CARR
Attorney General           112505
ANNETTE M. COWART 191199
Deputy Attorney General
RUSSELL D. WILLARD 760280
Senior Assistant Attorney General

/s/Cristina Correia
CRISTINA CORREIA           188620
Senior Assistant Attorney General
40 Capitol Square SW
Atlanta, GA 30334
ccorreia@law.ga.gov
404-656-7063

FOR PLAINTIFFS:


/s/Daniel Huynh
Deanna Kitamura                               Patrick J. Flinn, Esq.
dkitamura@advancingjustice-la.org             patrick.flinn@alston.com
CA Bar No. 162039                             Georgia Bar No. 264540
Nicole Gon Ochi                               Daniel Huynh, Esq.
nochi@advancingjustice-la.org                 Daniel.huynh@alston.com
CA Bar. No. 268678                            Georgia Bar No. 987369
Christopher Lapinig                           David Gann, Esq.
clapinig@advancingjustice-la.org              david.gann@alston.com
CA Bar No. 802525                             Georgia Bar No. 940455
Eileen Ma                                     Nick Tsui
ema@advancingjustice-la.org                   nick.tsui@alston.com
CA Bar No. 296800                             Georgia Bar No. 982502
(pro hac vice applications to be filed)       Lindsay Church

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ASIAN AMERICANS ADVANCING                  Lindsay.church@alston.com
JUSTICE – LA                               Georgia Bar No. 651190
1145 Wilshire Blvd.                        ALSTON & BIRD LLP
Los Angeles, CA 90017                      One Atlantic Center
Telephone: (213) 977-7500                  1201 West Peachtree Street
Facsimile: (213) 977-7595                  Atlanta, Georgia 30309-3424
                                           Tel.: (404) 881-7000
                                           Fax: (404) 881-7777
Phi Nguyen                                 Brian J. Sutherland, Esq.
GA Bar No. 578019                          bsutherland@buckleybeal.com
pnguyen@advancingjustice-atlanta.org       Georgia Bar No. 105408
Hillary Li                                 BUCKLEY BEAL, LLP
GA Bar No. 898375                          600 Peachtree Street
hli@advancingjustice-atlanta.org           Suite 3900
ASIAN AMERICANS ADVANCING                  Atlanta, Georgia 105408
JUSTICE – ATLANTA                          Tel.: (404 781-1100
5680 Oakbrook Parkway, Suite 148           Fax.: (404) 781-1101
Norcross, GA 30093
Telephone: (404) 585-8446




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                         CERTIFICATE OF SERVICE

      I hereby certify that on November 28, 2018, I electronically filed this

PROPOSED CONSENT ORDER using the CM/ECF system which will

automatically send e-mail notification of such filing to the following attorneys of

record:

Phi Nguyen
Hillary Li
Asian Americans Advancing Justice – Atlanta
Suite 148, 5680 Oakbrook Pkwy
Norcross, GA 30093

Brian Sutherland
Buckley Beal, LLP
Suite 3900, 600 Peachtree Street, NE
Atlanta, GA 30308

Daniel Huynh
David Lee Gann
Lindsay Catherine Church
Nicholas Tang Tsui
Patrick J. Flinn
Alston & Bird, LLP
Suite 4900, 1201 West Peachtree St.
Atlanta, GA 30309-3424

      I hereby certify that I have e-mailed the document to the following non-

CM/ECF participants: None

This 28th day of November, 2018.       /s/Cristina M. Correia
                                       Cristina M. Correia
                                       Senior Assistant Attorney General

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